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T|MOTHY UNDRAE JOHNSON
Diane Smothers, FPD
Defense Attorney
109 South High|and Ave. Ste B-8
Jackson, TN 38301

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on l\/lay 09, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section Nltlmwf_£fmse CMC|_MM Mm_be;(§l
18 U.S.C. § 922(g) Convicted Fe|on in Possession of a 10/24/2004 1

Firearm

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soo. Sec. No. XXX-XX-XXXX Date of Imposition of Sentence:
Defendant’s Date of Birth: 07/21/1983 August 05, 2005
Deft’s U.S. |Vlarshal No.: 19949-076

Defendant’s Mai|ing Address:

246 Jenrette Street
Bells, TN 38006

JA|V|ES . TODD
CH|EF N|TED STATES D|STR|CT JUDGE

This document entered on the docket§en in cim§liance AUQuSt_L_= 2005

with Flule 55 and/or 32(b) FFlCrP on

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Case No: 1:04cr10101-01-T Defendant Name: Timothy Undrae Johnson Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months as to the One (1) Count lndictment.

The Court recommends to the Bureau of Prisons: Defendant participate in a long-
term drug and alcohol treatment program.

The defendant is remanded to the custody of the United States |Vtarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNlTED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 1:04cr10101-01-T Defendant Name: Timothy Undrae Johnson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years as to the One (1) Count lndictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of F’risons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer',

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlted substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered',

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Case No: 1:04cr10101-01-T Defendant Name: Timothy Undrae Johnson Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft"icer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shali notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerr the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to conhrm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the probation officer until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall cooperate with the United States Probation Oftice in the collection of
DNA.

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution

$100.00

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The Specia| Assessment shall be due immediately
FINE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:04-CR-10101 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

